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 1                 I, S     F      V          , declare:
 2                 1.     I have personal knowledge of the facts set forth herein, and if called as a
 3 witness, I could and would competently so testify. I make this declaration in support of
 4 Plaintiffs’ Motions for Preliminary Injunction and Provisional Class Certification.
 5                 2.     I was incarcerated at FCI Dublin from November 2017 until
 6 November 2021. I was incarcerated by the Bureau of Prisons (BOP) at Federal Detention
 7 Center (FDC), SeaTac from November 2021 until October 2022. I was released to my
 8 family in October 2022 and now live in Utah.
 9                 3.     FCI Dublin’s inadequate systems for preventing, detecting, and responding
10 to sexual abuse have caused actual harm to myself and others incarcerated at FCI Dublin
11 and put myself and other incarcerated persons at substantial risk of serious harm from
12 sexual assault, harassment, and retaliation from staff.
13                 4.     While at FCI Dublin, I experienced sexual abuse and sexual harassment by
14 Officer Nicholas Theodore Ramos. Officer Ramos groped me three times and once
15 attempted to grab my breasts.
16                 5.     The first time Officer Ramos groped me was at the end of 2019. Officer
17 Ramos groped me while I was cleaning the bathroom in his office, as required by my
18 prison job. I and another woman were assigned to clean Officer Ramos’s bathroom on a
19 regular basis. As I was standing cleaning the bathroom in the office and the other woman
20 was in another area of the office cleaning, Officer Ramos came up behind me and rubbed
21 his genitals against my back and buttocks from side to side.
22                 6.     He did the same thing to me again in the beginning of 2020.
23                 7.     Both times he did this, he laughed, walked away, and sat right back in his
24 chair at his desk as if nothing happened.
25                 8.     Each time this happened, I felt humiliated and violated.
26                 9.     Later in 2020, Ramos and I were returning from throwing away the trash in
27 the back of the prison yard, which was a part of my prison job. As we were walking,
28 Officer Ramos got very close to me and rubbed his genitals against my back and buttocks
     [4334017.1]                                           1
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 1 for a prolonged period. As he did this, he also asked me, “Are your boobs real? They are
 2 nice.”
 3                 10.   I froze with fear, got extremely anxious, and did not respond because I was
 4 extremely uncomfortable. I began to dissociate. I felt humiliated, embarrassed and
 5 degraded.
 6                 11.   Finally, in 2020 Officer Ramos attempted to assault me by grabbing my
 7 breasts. I was attempting to clean Officer Ramos’s bathroom. I walked from the bathroom
 8 I was cleaning to another part of his office and passed by Officer Ramos, who was sitting
 9 in the chair at his desk. As I walked by, he reached his hand out to grab my breasts. I
10 turned my body away so that he was not able to fully grasp them. Again, Ramos laughed
11 like it was a joke.
12                 12.   I panicked and felt my heart race. My face got red from embarrassment and
13 anxiety, but I felt powerless to say or do anything because of the culture of intimidation at
14 FCI Dublin and the retaliation that would likely result.
15                 13.   On a number of occasions, Officer Ramos told me that he had explicit sexual
16 dreams about me. He would tell me about the dreams and described us doing graphic
17 sexual acts or he would taunt me by saying he had “another one of those good dreams”
18 about me, meaning another explicit sexual fantasy. One was especially graphic. Officer
19 Ramos described to me in detail a dream in which he went to Las Vegas with me. He
20 described that he dreamed he had me bent over the bed in a hotel room in Las Vegas,
21 where he was penetrating me from behind. He said, “it felt so real and felt so good.”
22                 14.   I identify as Lesbian or Bisexual. When Officer Ramos discovered that I
23 was interested in women, he began calling me derogatory terms, including “sucia” (dirty in
24 Spanish), “cochina” (another term for dirty in Spanish), and “freak.”
25                 15.   Additionally, Officer Ramos discovered that I was undocumented when he
26 picked me up from an immigration appearance. After he discovered this, he began to taunt
27 me by telling other officers in the prison, “Hey, you know she is going to get deported?”
28 and “You know she is illegal?” He would often laugh as he mocked me to others in the
     [4334017.1]                                        2
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 1 facility.
 2                 16.   Other officers, such as Officer Sergio Saucedo, often laughed with Officer
 3 Ramos and added mocking comments about me. I also heard them do this to other women
 4 in the prison.
 5                 17.   These comments made me feel self-conscious and ashamed. This felt like it
 6 placed me, and other women in immigration proceedings housed at FCI Dublin, in a
 7 separate class who had to be afraid for our safety. These taunts by both Officer Ramos and
 8 Officer Saucedo also reinforced for me that I could not report Officer Ramos’ behavior lest
 9 he find some way to expedite my removal.
10                 18.   Officer Ramos also subjected me to emotional abuse. Ramos forced me to
11 be in a toxic environment where he often vacillated from acting with malicious cruelty to
12 sporadically treating me in a special way because of his sexual interest in me.
13                 19.   For example, some days he ridiculed me for my sexual orientation, or my
14 immigration status as mentioned previously. He screamed obscenities at me including
15 calling me a “dumbass.” He also recruited his friend and colleague, Officer Saucedo, to
16 join in the retaliation. Officer Saucedo joined in the verbal abuse and often took me off
17 my work roster to do menial tasks for him personally.
18                 20.   Officers Ramos and Saucedo also incessantly searched my room—they
19 searched my room two to three times a week without justification. Each time the officers
20 searched my room, they took a number of my very limited possessions—items such as
21 shirts, sweatpants, make-up, containers, or anything else they could find. In particular,
22 they would regularly take my underwear.
23                 21.   The officers were required to fill out confiscation forms to state what exactly
24 they were taking and why, yet they never completed this form, meaning I was left without
25 recourse.
26                 22.   I only had a few possessions I could call my own while I was incarcerated so
27 each time they searched and stole my things, I was left with nothing in life. The taking of
28 my underwear only worsened the sexual harassment and intimidation I felt.
     [4334017.1]                                         3
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 1                 23.   On other days, Officer Ramos gave me excessive positive attention and gave
 2 me special gifts as a form of manipulation. He gave me things such as make-up, sweaters,
 3 and special food which were usually things he took from people when he searched their
 4 room.
 5                 24.   He also often asked me to walk his daily rounds with him and would often
 6 tell me deeply personal things about his relationship with his girlfriend and family. On
 7 these walks he would say complimentary things like that he loved my big eyes and loved
 8 my tan.
 9                 25.   I often felt confused and on edge because I never knew if he was going to be
10 cruel and abusive or provide me with special favors because of his sexual interest in me.
11                 26.   Officer Ramos used his role as a prison officer to impermissibly control and
12 punish me. Officer Ramos indicated that he was extremely jealous whenever I spoke to
13 anyone else, including both staff and other prisoners. He often told people to stay away
14 from me and to not talk to me. If they did continue to speak to me, he would conduct a
15 “hit” of their room, meaning he would search the person’s room and take or throw things
16 away as retaliation.
17                 27.   For example, on one occasion I was attempting to sit with two fellow
18 inmates. They both tried to sit with me or talk to me, but I heard him tell them, “If you sit
19 with her, I will hit your room.” This isolated me from others at Dublin and led to
20 deleterious psychological effects.
21                 28.   On another occasion, I smiled at another officer in the facility. Officer
22 Ramos saw that I smiled at this officer and Officer Ramos gave me a threatening look.
23 When I was later cleaning Ramos’s office, he told me, “Never smile to another officer
24 again—if you do I will hit your room,” referring again to his practice of searching rooms
25 and stealing the few precious things that I had stored in my cell.
26                 29.   Officer Ramos retaliated against my friend and roommate, for spending time
27 with me. After she and I formed a friendship, Officer Ramos repeatedly “hit” her cell,
28 searching her room without cause and impermissibly seizing her possessions. When she or
     [4334017.1]                                         4
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 1 I asked him what basis he had for searching her cell, he said, “Because I fucking want to
 2 and because I fucking can.”
 3                 30.   Officers Ramos and Saucedo both retaliated against her for having a
 4 relationship with me by repeatedly forcing her to get out of her wheelchair (which she was
 5 in after dislocating her ankle) and forcing her use crutches. They also forced her to go the
 6 long way around on the yard to the cafeteria when they saw us together on the yard. They
 7 stopped us nearly every time we went to the yard to get our meals and took her wheelchair
 8 at least three times.
 9                 31.   We reported this to the assistant warden and told the warden that Officer
10 Ramos and Saucedo were not allowing her to use the wheelchair. The warden told them
11 that they should not have done this and that she should use the wheelchair. When she
12 attempted to use the wheelchair, they again told her that she needed to use the crutches.
13                 32.   Officer Hung was present during one of these instances and I asked him,
14 “Are you going to let him do this?” Yet, Officer Hung turned around and did nothing.
15                 33.   In order to avoid this harassment, we skipped meals when we saw either
16 Officer Saucedo or Officer Ramos in the yard.
17                 34.   This all had the effect of causing me deep emotional hardship because of the
18 regularized retaliation and loss of relationships with other people incarcerated, or working,
19 at Dublin.
20                 35.   When I arrived at FCI Dublin in November 2017 I was not provided
21 adequate training and information about how to respond to sexual abuse.
22                 36.   There is no effective way to confidentially report sexual assault and abuse by
23 staff at FCI Dublin. When incarcerated persons report sexual abuse by staff, FCI Dublin
24 and BOP do not seriously investigate the reports. Investigations are frequently delayed
25 and overseen by staff who know and work with the offending staff member. Generally
26 nothing happens as a result.
27                 37.   I was afraid to report the abuses committed by Officer Ramos because I was
28 afraid of being retaliated against. Staff at FCI Dublin prevent people from reporting sexual
     [4334017.1]                                        5
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 1 assault and abuse by staff and retaliate against people who do report.
 2                 38.   I witnessed people that were immediately transferred to the Special Housing
 3 Unit (SHU) after reporting abuse. The SHU functionally served as solitary confinement in
 4 the facility where individuals are confined 24 hours a day, seven days a week without time
 5 for recreation. I know that when individuals are confined in the SHU, they are also not
 6 able to access basic resources such as commissary.
 7                 39.   I remember in particular that two other women were put in the SHU for two
 8 months after they reported being abused by staff. Even when they were released, they
 9 were put right back in the unit where their abusers worked. After they were out the SHU, I
10 saw officers regularly verbally abuse and scream at them for reporting.
11                 40.   Because I saw these women were mistreated and retaliated against for
12 reporting, I was terrified to report my experience and just tried to survive through Officer
13 Ramos’s abuse.
14                 41.   Though I was terrified, I did attempt to report what had happened at Dublin
15 after I was moved to FDC SeaTac. I emailed my counselor, Mr. Joyce, asking to speak
16 with him and reported my experience. On September 7, 2022, Mr. Joyce referred me to a
17 medical provider and a case manager on the same day. The Special Investigative
18 Supervisor (SIS) said they would call me back, but they never got in touch with me again.
19                 42.   There is little to no confidential mental health care available to survivors of
20 sexual abuse and assault at FCI Dublin or other BOP facilities. After reporting the abuse
21 to Mr. Joyce, I spoke to the psychology department on September 8, 2022. The SIS said
22 they would call psychology to set up another appointment, but I never received another
23 appointment.
24                 43.   The camera system at FCI Dublin is inadequate. There are some cameras
25 installed in fixed locations in the facility, but it is well known that there are no cameras in
26 certain areas. Staff at FCI Dublin have never worn body-worn cameras in the facility.
27 / / /
28 / / /
     [4334017.1]                                         6
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